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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Myesha Prather, et al.
                                   Plaintiff,
v.                                                      Case No.: 1:17−cv−00481
                                                        Honorable Manish S. Shah
Wells Fargo Bank, N.A.
                                   Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, September 13, 2021:


        MINUTE entry before the Honorable Manish S. Shah: The Motion for Order
Authorizing Further and Final Distribution of Class Settlement Fund [142] is granted. The
settlement administrator shall distribute the remaining settlement fund in equal amounts to
the American Law Institute and the Samuelson Law, Technology, and Public Policy
Clinic at the University of Berkeley School of Law. Notices mailed. (psm, )




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